Appellate Case: 23-9522            Document: 010110988754   Date Filed: 01/23/2024   Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                           UNITED STATES COURT OF APPEALS                         Tenth Circuit

                                 FOR THE TENTH CIRCUIT                         January 23, 2024
                             _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
  FRANCISCO JAVIER GUZMAN,

         Petitioner,

  v.                                                             No. 23-9522
                                                             (Petition for Review)
  MERRICK B. GARLAND, United States
  Attorney General,

         Respondent.

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  ROCKY MOUNTAIN IMMIGRANT
  ADVOCACY NETWORK,

         Amicus Curiae.

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  FRANCISCO JAVIER GUZMAN,

         Petitioner,

  v.                                                             No. 23-9542
                                                             (Petition for Review)
  MERRICK B. GARLAND, United States
  Attorney General,

         Respondent.

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  ROCKY MOUNTAIN IMMIGRANT
  ADVOCACY NETWORK,

         Amicus Curiae.
                             _________________________________
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                                       ORDER
                          _________________________________

 Before HARTZ, PHILLIPS, and CARSON, Circuit Judges.
                   _________________________________

        On January 16, 2024, counsel for Petitioner filed a Notice of Suggestion of Death

 and Motion to Stay or Cancel January 18, 2024 Oral Argument, and the parties filed a

 Stipulation of Voluntary Dismissal Pursuant to Federal Rule of Appellate Procedure

 42(b). That same day, we vacated the oral argument scheduled for January 18, 2024.

        These matters are now before the court on the parties’ Rule 42(b) stipulation,

 which is taken under advisement pending the parties’ response(s) to this order. Within 14

 days of the date of this order, the parties shall address whether the dismissal of these

 petitions for review should include a remand with instructions for the Board of

 Immigration Appeals to vacate the decision(s) at issue. See United States v.

 Munsingwear, Inc., 340 U.S. 36, 39-40 (1950) (outlining general procedure to be

 followed when case becomes moot during pendency of appeal); U.S. Bancorp Mortgage

 Co. v. Bonner Mall P'Ship, 513 U.S. 18, 22-23 (1994) (explaining rationale for

 Munsingwear procedure)


                                               Entered for the Court,



                                               CHRISTOPHER M. WOLPERT, Clerk




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